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                        UNITED STATES DISTRICT COURT,
               NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

 MATTHEW ZETTLE,

 Plaintiff,                                             Case No. 1:19-cv-03057

 v.

 THE FAKHOURI FIRM, LLC, and
 ROBERT S. FAKHOURI, individually,

 Defendants.



                              AGREED ORDER OF DISMISSAL

       This matter having been resolved, all parties, by and through their undersigned counsel,
hereby jointly agree and stipulate as follows:

       This matter is dismissed, with prejudice, with each party to bear his/its own attorneys’
fees and costs.



                                                   E N T E R:


 Dated: August 4, 2020

                                                   MARY M. ROWLAND
                                                   United States District Judge
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/s/Michael I. Leonard                      /s/Robert S. Fakhouri
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